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                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


 IN RE ROUNDUP PRODUCTS                            MDL 2741
 LIABILITY LITIGATION

                                                   [Proposed] ORDER
 This document relates to:

 Eric Beisner, 3:20-cv-00056
 John Bodie, 3:20-cv-00057
 John Calloway, 3:20-cv-00059
 LaTonya Dotson (Estate of Judy Dotson),
 3:20-cv-02414
 Patrick Finnell 3:20-cv-2419
 Thomas Howe, 3:20-cv-00036
 Sandra Katte, 3:20-cv-00039
 Glenn Moore, 3:20-cv-00041
 LeAnnah Jessop (Estate of George Jessop);
 3:20-cv-00042
 Izora Poteet (Estate of J.P. Stewart), 3:20-cv-
 02415
 Reginald Sayles, 3:20-cv-2417
 Larry Williams, 3:20-cv-02416



         Plaintiff’s motion to move the referenced case from Wave VI to Wave VII is granted.
         IT IS SO ORDERED.


Dated:      May 16, 2023                                   ______________________________
                                                           Honorable Judge Vince Chhabria
                                                           United States District Judge
